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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AARON RICH, )
)
Plaintiff, )
)
V. ) Civil Case No. 18-681 (RJL)
)
ED BUTOWSKY, and )
MATTHEW COUCH, and )
AMERICA FIRST MEDIA, ) F I L E D
) FEB - 5 2020
Defendants. ) ills
Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
ORDER

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February 4, 2020

Upon consideration of the relevant and the record, it is hereby

ORDERED that Defendant Couch’s Motion to Take Five Depositions [Dkt. # 102]
is GRANTED in part and DENIED in part. Defendant Couch is hereby granted
permission to seek to depose Kelsey Mulka, Joe Capone, and Detective Joey Della Camera.
His motion is otherwise denied for failure to demonstrate those depositions are likely to
lead to relevant evidence. It is further

ORDERED that plaintiff's Motion to Deem Facts in Certain RFAs Admitted [Dkt.
# 104] is GRANTED in part and DENIED in part. Plaintiff's First Set of Requests for
Admission to Defendant America First Media are hereby admitted. In light of the Court’s

ruling as to defendant’s Butowsky’s Cross Motion [Dkt. # 128], see below, Plaintiff's

 

 

 
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Second Set of Requests for Admission as to Defendant Butowsky are not admitted in total.
It is further

ORDERED that defendant Butowsky’s Cross Motion to Withdraw and Amend
Admissions [Dkt. # 128] is GRANTED. Defendant Butowsky’s responses to RFAs 67,
68, 69, 70, 71, 72, and 74 are amended as set forth in his January 22, 2020 responses [Dkt.
# 128, Ex. 8]. it is further

ORDERED that defendant Butowsky’s Supplemental Motion to Withdraw and
Amend Answers [Dkt. # 146] is DENIED.

ORDERED that defendants’ Motion for Extension of Time to Complete Discovery
[Dkt. # 97] is GRANTED in part and DENIED in part. Defendant Couch shall have until
March 27, 2020 to depose the three witnesses identified above. The motion for an
extension of discovery is otherwise denied as to Defendant Couch. Defendant Butowsky
shall have until March 27, 2020 to complete all fact discovery. Should he be unable to sit
for his own deposition within that time frame due to his medical condition, he can seek
leave to hold that deposition outside the extended discovery period. It is further

ORDERED that defendants’ Motion for Reconsideration of Order Granting Motion
to Enforce [Dkt. # 143] is DENIED. Defendant Couch is hereby ordered to produce the
relevant documents within 72 hours. Should he fail to do so, this Court will address
whether to hold him in contempt. It is further

ORDERED that counsel for defendants shall show cause within 14 days why the
Court should not assess a $2,500 fine for his failure to properly redact confidential

information in his January 24, 2020 filings, despite the Court’s previous admonishment.

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In the future, the Court will simply impose a $2,500 fine for any additional violations of
the parties’ protective order, which requires the redaction of confidential information.

SO ORDERED. (

    

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United States Drstrict Judge

 

 
